Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 1 of 91
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 2 of 91
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 3 of 91
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 4 of 91
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 5 of 91
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 6 of 91
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 7 of 91
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 8 of 91
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 9 of 91
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 10 of 91
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 11 of 91
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 12 of 91
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 13 of 91
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 14 of 91
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 15 of 91
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 16 of 91
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 17 of 91
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 18 of 91
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 19 of 91
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 20 of 91
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 21 of 91
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 22 of 91
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 23 of 91
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 24 of 91
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 25 of 91
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 26 of 91
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 27 of 91
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 28 of 91
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 29 of 91
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 30 of 91
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 31 of 91
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 32 of 91
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 33 of 91
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 34 of 91
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 35 of 91
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 36 of 91
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 37 of 91
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 38 of 91
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 39 of 91
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 40 of 91
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 41 of 91
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 42 of 91
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 43 of 91
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 44 of 91
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 45 of 91
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 46 of 91
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 47 of 91
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 48 of 91
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 49 of 91
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 50 of 91
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 51 of 91
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 52 of 91
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 53 of 91




                                                                001
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 54 of 91




                                                                002
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 55 of 91




                                                                003
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 56 of 91




                                                                004
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 57 of 91




                                                                005
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 58 of 91




                                                                006
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 59 of 91




                                                                007
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 60 of 91




                                                                008
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 61 of 91




                                                                009
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 62 of 91




                                                                010
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 63 of 91




                                                                011
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 64 of 91




                                                                012
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 65 of 91




                                                                013
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 66 of 91




                                                                014
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 67 of 91




                                                                015
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 68 of 91




                                                                016
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 69 of 91




                                                                017
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 70 of 91




                                                                018
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 71 of 91




                                                                019
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 72 of 91




                                                                020
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 73 of 91




                                                                021
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 74 of 91




                                                                022
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 75 of 91




                                                                023
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 76 of 91




                                                                024
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 77 of 91




                                                                025
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 78 of 91




                                                                026
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 79 of 91




                                                                027
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 80 of 91




                                                                028
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 81 of 91




                                                                029
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 82 of 91




                                                                030
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 83 of 91




                                                                031
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 84 of 91




                                                                032
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 85 of 91




                                                                033
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 86 of 91




                                                                034
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 87 of 91




                                                                035
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 88 of 91




                                                                036
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 89 of 91




                                                                037
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 90 of 91




                                                                038
Case 1:24-cv-04108-ALC   Document 3-15   Filed 05/30/24   Page 91 of 91




                                                                039
